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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

       v.                                    Civil Action No. 1:21-cv-00040 (CJN)

SIDNEY POWELL, et al.,

Defendants/Counter-Plaintiffs.



US DOMINION, INC., et al.,

               Plaintiffs,

       v.                                    Civil Action No. 1:21-cv-00213 (CJN)

RUDOLPH W. GIULIANI,

               Defendant.



US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

       v.                                    Civil Action No. 1:21-cv-00445 (CJN)

MY PILLOW, INC., et al.,

Defendants/ Counter- and Third- Party
Plaintiffs,

      v.

SMARTMATIC USA CORP., et al.,

Third-Party Defendants.
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                               AMENDED SCHEDULING ORDER

   Upon review of the Parties’ Stipulated Motion to Amend Scheduling Order, the Court enters

the following schedule to govern discovery in all of the above-captioned cases:

   1. Deadline to Exchange Initial Disclosures under Fed. R. Civ. P. 26(a)(1): June 24, 2022

   2. Deadline to Serve Document Requests under Fed. R. Civ. P. 34: December 2, 2022

   3. Deadline for Completion of Fact Discovery: April 14, 2023

   4. Deadline for Proponents to Designate Expert Witnesses and Produce Expert Reports under

       Fed. R. Civ. P. 26(a)(2): May 26, 2023

   5. Deadline for Opponents to Designate Expert Witnesses and Produce Expert Reports under

       Fed. R. Civ. P. 26(a)(2): June 30, 2023

   6. Deadline for Proponents to Produce Responsive Expert Reports: August 4, 2023

   7. Deadline for Expert Depositions: September 22, 2023

   8. Status Conference: In-person on October 4, 2023 at 10:00am

   9. Deadline to File Dispositive Motions: November 3, 2023

   10. Deadline to File Oppositions to Dispositive Motions: December 18, 2023

   11. Deadline to File Replies in Support of Dispositive Motions: January 17, 2024

The Court intends to discuss a potential date for the final pretrial conference and potential

trial dates at the status conference scheduled for October 4, 2023 at 10:00am.

       It is so ORDERED.
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DATE: August 18, 2022
                                               CARL J. NICHOLS
                                               United States District Judge
